         Case 1:16-cv-00259-KCD Document 148 Filed 02/28/22 Page 1 of 2




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

HEALTH REPUBLIC INSURANCE                     :
COMPANY,                                      :       No. 16-259C
                                              :
        Plaintiff,                            :       Judge Davis
                                              :
        v.                                    :
                                              :
UNITED STATES OF AMERICA,                     :
                                              :
        Defendant.                            :

                                   JOINT STATUS REPORT

        Pursuant to the Court’s order dated January 24, 2022, Docket No. 147, dispute subclass

members Meritus Mutual Health Partners, Meritus Health Partners (collectively, “Meritus”), and

Colorado Health Insurance Cooperative, Inc. (“Colorado HealthOp”), and the United States

submit this joint status report.

        The Court continued the oral argument scheduled for January 28, 2022 by thirty (30)

days in order to permit Meritus and the United States to complete their discussions regarding a

potential settlement of their respective claims. Meritus and counsel for the United States have

agreed in principle to a resolution of their claims and continue to work to finalize language of an

agreed stipulation to judgment based on compromise, settlement, and resolution. Once the

parties finalize the agreed stipulation, Meritus, which is in liquidation, will submit the agreed

stipulation to the court overseeing its liquidation for approval. Within the same timeframe, the

proposed settlement will be considered by the appropriate officials within the Department of

Justice. The Parties expect these processes to be concluded within the next forty-five (45) days.

        Accordingly, the Parties request that the Court continue the oral argument for an

additional forty-five (45) days and schedule oral argument as to Colorado HealthOp and the

United States sometime after this 45-day period. Counsel for the dispute subclass and the United
         Case 1:16-cv-00259-KCD Document 148 Filed 02/28/22 Page 2 of 2



States are available for oral argument starting April 19, 2022.



                                       Respectfully submitted,


                                                 BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General

                                                 RUTH A. HARVEY
                                                 Director
                                                 Commercial Litigation Branch

                                                 KIRK T. MANHARDT
                                                 Deputy Director


   /s/ Stephen Swedlow                            /s/ Terrance A. Mebane
  QUINN EMANUEL URQUHART &                       TERRANCE A. MEBANE
  SULLIVAN, LLP                                  MARC S. SACKS
  Stephen Swedlow                                FRANCES M. MCLAUGHLIN
  stephenswedlow@quinnemanuel.com                United States Department of Justice
  191 N. Wacker Drive, Suite 2700                Civil Division, Commercial Litigation Branch
  Chicago, Illinois 60606                        (202) 307-0493
  Telephone: (312) 705-7400                      terrance.a.mebane@usdoj.gov

  J.D. Horton                                    Counsel for the United States
  jdhorton@quinnemanuel.com
  Adam B. Wolfson
  adamwolfson@quinnemanuel.com
  865 S. Figueroa Street
  Los Angeles, California 90017
  Telephone: (213) 443-3000

  Attorneys for the Dispute Subclass




                                                  2
